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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



  GANNETT SATELLITE INFORMATION
  NETWORK,

                 Plaintiff,                                       Case No. 22-cv-475-BAH


          v.


  U.S. DEPARTMENT OF JUSTICE,

                 Defendant.


                                   JOINT STATUS REPORT

        Pursuant to the Court’s Order of February 6, 2025, the parties, having conferred, jointly

submit the following update on the status of this matter.

        Defendant is currently considering whether to appeal this Court’s Opinion and Order on

February 6, 2025, denying Defendant’s Second Motion for Summary Judgment and granting and

denying in part Defendant’s Motion for Partial Reconsideration. That Order otherwise directs

Defendant to “promptly produce to plaintiff the unredacted versions of responsive records

collected from state and local authorities between October 1, 2015, and the end of 2019, as well

as search for and produce federal Bureau of Prisons records collected by BJS during the same

time period.” It further directs the parties to “propos[e] a schedule for any further proceedings in

this case, including addressing an estimated timeline for defendant’s prompt compliance with

this order.”

        In cases where the United States is a party, Congress has provided all parties with 60

days in which to appeal, 28 U.S.C. § 2107(b); see Fed. R. App. P. 4(a)(1)(B), in order to provide
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sufficient time for the Department of Justice (“DOJ”) to consult with interested components of

the government and for the Solicitor General to determine whether to appeal, 28 C.F.R.

§ 0.20(b). However, disclosure of the unredacted responsive records collected by DOJ’s Bureau

of Justice Statistics (“BJS”) would moot any appeal by the government, depriving the

government of the protection of FOIA’s exemptions without appellate review. See In re

Papandreou, 139 F.3d 247, 251 (D.C. Cir. 1998); Ctr. for Nat’l Sec. Studies v. DOJ, 217 F.

Supp. 2d 58, 58 (D.D.C. 2002) (explaining that, in FOIA cases, “disclosure . . . would effectively

moot any appeal”). Accordingly, an extension of any deadline for production of responsive

records in response to the Court’s Order is necessary in order to preserve the government’s

appellate rights. Granting such an extension would also obviate the need for the government to

seek a stay from this Court, and potentially an emergency stay in the court of appeals, to protect

those rights.

       Should Defendant ultimately not pursue appeal, Defendant estimates that it would be able

to produce unredacted versions of the data that has already been produced in redacted form one

business day after the deadline for filing a notice of appeal. Defendant estimates that it would be

able to produce the remaining materials that it needs to collect and process under the Court’s

Order approximately 20 business days after the deadline for filing a notice of appeal. The

government’s deadline to appeal is April 7, 2025. Thus, in light of Defendant’s need to preserve

its appellate rights coupled with its ability to produce responsive documents, Defendant

respectfully requests that its deadline for production of already collected and processed data in

unredacted form be set on April 8, 2025, and its deadline for the production of remaining

materials to be collected and processed be set on May 5, 2025.




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       Plaintiff does not oppose Defendant’s proposal to set the deadline for producing records

until after the appeal deadline and agrees with the deadlines proposed by Defendant.

       Accordingly, the parties respectfully request that they be allowed to submit a further joint

status report on or before May 12, 2025.



Dated: February 21, 2025                             Respectfully submitted,


                                                     BRETT A. SHUMATE
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                                                     MARCIA BERMAN
                                                     Assistant Branch Director

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